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                           UNITED STATES DISTRICT COURT FOR THE

                                  EASTERN DISTRICT OF CALIFORNIA




 UNITED STATES OF AMERICA,                               )        Case No. CR S-07-0048-4 WBS
                                                         )
               Plaintiff,                                )
 v.                                                      )           ORDER FOR RELEASE
                                                         )          OF PERSON IN CUSTODY
 OLEG V. UMAROV,                                         )
                                                         )
               Defendant.                                )
                                                         )

TO:    UNITED STATES MARSHAL:

       This is to authorize and direct you to release Oleg V. Umarova Case CR S-07-0048-4 WBS from custody

subject to the conditions contained in the attached “Notice to Defendant Being Released” and for the following

reasons:

                             Release on Personal Recognizance

                             Bail Posted in the Sum of

                             Unsecured bond

                             Appearance Bond with 10% Deposit

                             Appearance Bond secured by Real Property

                             Corporate Surety Bail Bond

                       X     (Other)   Case dismissed as to this defendant.

              Issued at Sacramento, CA on September 28, 2007 at 11:00 a.m. .




Orig & Copy: USM
Copy to Docketing
